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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )                 8:03CR394
                                          )
                   Plaintiff,             )
                                          )
      vs.                                 )                 JUDGMENT
                                          )
VICTOR PAUL HERNANDEZ O’CHOA,             )
                                          )
                   Defendant.             )

      In accordance with the Memorandum and Order filed on this date,

      IT IS ORDERED:

      1. That the defendant’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

Correct Sentence by a Person in Federal Custody (“§ 2255 motion”) (Filing No. 137) is

denied.

      2.     The Clerk is directed to mail a copy of this Memorandum and Order to the

defendant at his last known address.

      DATED this 19th day of December, 2005.

                                       BY THE COURT:



                                       s/Joseph F. Bataillon
                                       JOSEPH F. BATAILLON
                                       United States District Judge
